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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-mj-00025-NRN

UNITED STATES OF AMERICA,

              Plaintiff,

v.

LEONARD L. LUTON,

              Defendant.
.


       ORDER FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM


       Upon petition of the United States and for good cause shown, it is hereby

       ORDERED that the Clerk of the Court issue a writ to the United States Marshals

Service requiring the United States Marshal to produce LEONARD LUTON, YOB:

1976, Jail ID P-40936, before a United States Judge forthwith for proceedings and

appearances upon the charges in the Criminal Complaint, and to hold him at all times in

the United States Marshal=s custody as an agent of the United States of America until

final disposition of the defendant's case, and thereafter to return the defendant to the




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institution where he is now confined.

      SO ORDERED this               day of                    , 2019.



                                        UNITED STATES DISTRICT COURT
                                        DISTRICT OF COLORADO




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